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                                        December 10, 2020

VIA ECF

Honorable Andrew L. Carter, Jr.
United States District Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

       Re: Pescatore, et al. v. Palmera Pineda, et al., No. 1:18-mc-00545-ALC
              Plaintiffs’ Verified Letter Motion to Seal:
              Ex Parte Motion for Issuance of TRIA Writ of Execution

Dear Judge Carter:

        Similar to the letter motion filed today by the Stansell plaintiffs, in 1:16-mc-00405-ALC,
ECF No. 110, the Pescatore plaintiffs respectfully file this materially identical letter to request
leave of Court to file under seal an Ex Parte Motion for Issuance of a TRIA Writ of Execution,
solely to attach a newly discovered blocked asset. This motion is filed pursuant to the Standing
Order on Electronic Filing Under Seal (Case 1:19-mc-00583-CM), Your Honor’s published
Individual Rules of Practice 6.C. and 6.D., and the ECF Rules & Instructions Section 6.

        Plaintiffs herein, in cooperation with the Stansell plaintiffs in Case 1:18-mc-00545-ALC,
have identified a new blocked asset for TRIA post-judgment execution proceedings in partial
satisfaction of both the Stansell ATA judgment and the Pescatore plaintiffs’ ATA judgments.
Plaintiffs request expedited relief to perfect chronological judgment lien priority on this blocked
account because a competing judgment creditor—who was an alien national at the time of the
subject terrorist acts—is actively trying to attach this same account to defeat the Stansell and
Pescatore plaintiffs execution efforts.1

       Plaintiffs’ proposed Ex Parte Motion (filed separately under seal) is based on information
obtained over many months through multiple protective Orders and subpoenas to OFAC and



   1 As this Court is aware, the Stansell plaintiffs and Pescatore plaintiffs are parties to a Joint
Prosecution and Sharing Agreement and are separately seeking issuance of a writ to attach the
newly discovered blocked asset to protect their shared mutual interests in perfecting
chronological judgment lien priority vis-à-vis other competing creditor(s).

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several different financial institutions, and the blocking reports and banking information obtained
is highly confidential and protected by the Trade Secrets Act (TSA), 18 U.S.C. § 1905, and the
Bank Secrecy Act, 31 U.S.C. §5311 et seq.

        Moreover, the names of the garnishee and the blocked party account owner, the blocked
account details, and our supporting expert witness affidavits are the fruits of extensive attorney
work product, and their premature disclosure to the public would allow a competing judgment
creditor—who was not a U.S. national at the time of the terrorist act underlying his judgment—to
race to a different court to use Plaintiffs’ work product to try to effect an earlier levy before
Plaintiffs do and thereby attempt to defeat the Stansell and Pescatore plaintiffs’ execution.

        Plaintiffs are aware of the general policy for public access of federal court dockets, and we
therefore only request a temporary sealing sufficient to allow the Orders & Judgments Clerk to
issue the subject writ of execution, for Plaintiffs to serve and levy the writ on the garnishee, file
the affidavit of service and certify compliance with the CPLR §5232(c) notice of levy provision.

        The service and levy of the writ of execution will not require any form of response by the
garnishee, but it will perfect Plaintiffs’ judgment lien priority under New York law. After the
attachment and notice is complete, Plaintiffs will thereafter publicly move for entry of TRIA
turnover order pursuant to CPLR §§ 5225, 5227, at which time formal notice will again be given
to the garnishee and account owner which will then require a public response.

       Plaintiffs’ proposed Ex Parte Motion is directed to blocked assets in the United States
owned by a member of the Venezuelan Cartel of the Suns. The Ex Parte Motion does not involve
any garnishee or blocked party that is currently before this Court. The Ex Parte Motion includes
various exhibits, including supporting expert witness affidavits, a proposed Order and proposed
writ. The supporting Supplemental Appendix will be filed separately on the public docket.

    Plaintiffs respectfully request entry of a docket entry Order authorizing the sealing of the Ex
Parte Motion and all exhibits thereto, including the writ of execution after issuance by the Clerk,
for a period of 30 days from issuance of the writ.

Thank you for the Court’s consideration.

                                                      Respectfully submitted,

                                                      /s/ Nathaniel A. Tarnor



   Dated: December 15, 2020
